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lN THE uNlTED sTATEs DlsTRlcT couRT """"§‘"'*5£"3 §&’ M>‘~
FoR THE wEsTERN olsTRlcT oF TENNESSEE @5 51 le _ § ,>_
wEsTERN DlvlsloN ' 1 ` 3 F’F“f w 39

 

UNITED STATES OF AN|ERICA,

 

P|aintiff,
vs. Cr. No. 05-20038-B
JAMEY WASH|NGTON,

Defendant.

 

ORDER RESETT|NG SUPPRESS|ON HEAR|NG DATE

 

For good cause shown, and Without objection by the government, defendant

Jamey Washington’$ motion to reset the Suppression hearing is hereby GRANTED.

\
The Suppression hearing is RESET for Mu'bda.e£ f §¢P'\‘Cmb£f` ( 'ZQSS`(¢J Z.‘OOp.m.

|t is so ORDERED, this the §§ day of August, 2005.

J A lEL BREEN \
nite States District Court Judge

 

 

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This notice confirms a copy of the document docketed as number 82 in
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US DISTRICT COURT

